            Case 1:21-cr-00399-DLB Document 26 Filed 06/03/22 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                         *

       v.                                         *              CRIMINAL NO. DLB-21-0399

ROY C. MCGRATH,                                   *

       Defendant.                                 *

                                    SCHEDULING ORDER

       Following a June 1, 2022 status teleconference, the Court sets the following dates and

deadlines for further proceedings in this case:

       June 30, 2022                        Pretrial motions deadline

       July 15, 2022                        Deadline for government’s responses to any pretrial
                                            motions

       August 1, 2022                       Deadline for defendant’s replies

       August 22, 2022, 10:00 a.m.          Motions Hearing, Courtroom 3A. Defendant must be
                                            present.

       September 16, 2022                   Deadline for filing motions in limine

       September 30, 2022                   Deadline for responses to motions in limine

       September 30, 2022                   Deadline for receipt in chambers of proposed voir dire,
                                            proposed jury instructions, and a proposed jury verdict
                                            form; these are to be filed electronically and must
                                            also be submitted via e-mail in Microsoft Word
                                            format                   to                chambers:
                                            MDD_DLBChambers@mdd.uscourts.gov

                                            Government and defense counsel shall meet and confer
                                            with respect to proposed voir dire, jury instructions,
                                            and a verdict form, and to the fullest extent possible
                                            make a joint submission. Counsel shall identify any
                                            matters of disagreement through supplemental filings.

       October 11, 2022, 10:00 a.m.         Pretrial Conference, Courtroom 3A. Defendant must
                                            be present.
             Case 1:21-cr-00399-DLB Document 26 Filed 06/03/22 Page 2 of 2



       October 24, 2022, 9:30 a.m.         Jury Trial, Courtroom 3A, scheduled to conclude on
                                           November 3, 2022. The Court will not sit in trial on
                                           Fridays.

                                           Counsel shall appear in court at 9:15 a.m. on the first
                                           day of trial to address miscellaneous matters with the
                                           courtroom deputy clerk prior to the commencement of
                                           jury selection.


       No changes to this schedule will be permitted unless authorized by the Court for good cause

shown. Any such requests, either stipulated or ex parte, must be made by motion and filed with

the Clerk.


DATED this 3rd day of June, 2022.




                                                     Deborah L. Boardman
                                                     United States District Judge




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